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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                  *            CRIMINAL DOCKET

VERSUS                                    *            NO. 19-040

GEOURVON KEINELL SEARS                    *            SECTION: MAGISTRATE

                                        ORDER

             Considering the foregoing,

             IT IS ORDERED that defendant Geourvon Keinell Sears’ preliminary

hearing is hereby continued until the 21st day of June, 2019, at 10:00 o’clock a.m.

             New Orleans, Louisiana, this 22ndday of May, 2019.




                                          ____________________________________
                                          UNITED STATES MAGISTRATE JUDGE
